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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       vs.                                   )               Case Number: CR 05 1849 JH
                                             )
DENNIS WILSON, et al.,                       )
                                             )
               Defendants.                   )



MOTION AND SUPPORTING MEMORANDUM TO EXCLUDE THE ADMISSIBILITY
                OF CO-CONSPIRATOR STATEMENTS

       The Defendant, Dennis Wilson, by his attorney, Robert J. Gorence, Esq. of Gorence &

Oliveros, P.C., moves this Court to exclude any alleged co-conspirator statements. In support of

this motion, Defendant states:

       1.      On or about April 25, 2006, Mr. Wilson was charged by grand jury superceding

               indictment with one count of conspiracy to distribute 1,000 kilograms and more

               of marijuana.

       2.      Federal Rule of Evidence 801(d)(2)(E) identifies statements made by alleged co-

               conspirators as admissible if those alleged co-conspirator statements were made

               during the course of and in furtherance of a conspiracy.

       3.      The preferred method of determining the admissibility of co-conspirator

               statements in the Tenth Circuit is to hold a pre-trial hearing on the matter. The

               purpose of such a hearing is to determine whether a conspiracy existed, the

               defendant’s participation in it, and whether the alleged statements were made in

               the course and scope of the conspiracy. United States v. Gonzales-Montoya, 161

               F.3d 643, 648 (10th Cir. 1998).


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       4.      Furthermore, Mr. Wilson objects to any testimonial statement, including alleged

               co-conspirator statements where the declarant is not available to be confronted

               and cross-examined, because the introduction of any such testimonial statements

               would violate Mr. Wilson’s Sixth Amendment right to confrontation. Crawford

               v. Washington, 541 U.S. 36, 67, 125 S.Ct. 1354, 1374, 158 L.Ed.2d 177 (2004)

       5.      Because of the nature of this motion, Defendant presumes that the government is

               opposed to this motion.

       FOR THE ABOVE REASONS, and for such reasons as may be revealed at a hearing of

this matter, Defendant asks that this motion be granted.

                                                            Respectfully submitted,


                                                            Electronically Filed 10/22/06
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             I hereby certify that a true and correct copy of the foregoing was faxed on this
  rd
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